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                      IN THE UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA

                                                        )
STANDING ROCK SIOUX TRIBE,                              )
                                                        )
         Plaintiff,                                     )
                                                        )
and                                                     )
                                                        )
CHEYENNE RIVER SIOUX TRIBE,                             )
                                                        )
         Plaintiff-Intervenor,                          )
                                                        )
v.                                                      )      Case No. 1:16-cv-01534 (JEB)
                                                        )       (consolidated with Cases No.
UNITED STATES ARMY CORPS OF                             )     1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                                              )
                                                        )
         Defendant,                                     )
                                                        )
and                                                     )
                                                        )
DAKOTA ACCESS, LLC,                                     )
                                                        )
         Defendant-Intervenor.                          )
                                                        )

             UNITED STATES ARMY CORPS OF ENGINEERS’ MOTION FOR
            A CONTINUANCE OF FEBRUARY 10, 2021 STATUS CONFERENCE

         The United States Army Corps of Engineers hereby seeks a continuance of the February

10, 2021 status conference for fifty-eight days in order for the United States Department of

Justice to brief new officials regarding this case. The Corps therefore respectfully requests a

continuance of the status conference in this case until April 9, 2021. In support of this motion

the Corps states the following:

      1) On January 8, 2021, the Plaintiff Tribes filed their reply brief in support of their motion

for an injunction. ECF No. 586.

      2) On January 27, 2021, the Court issued an order requiring the parties to “appear for a
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status hearing on February 10, 2021, at 11:00 a.m. to discuss both the impact of yesterday's

Court of Appeals decision on Plaintiffs' pending motion and how the Corps expects to proceed

given the vacating of the easement.”

   3) Department of Justice personnel require time to brief the new administration officials and

those officials will need sufficient time to learn the background of and familiarize themselves

with this lengthy and detailed litigation. A continuance of fifty-eight days will permit new

appointees to be briefed appropriately.

   4) Plaintiffs Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe,

and Yankton Sioux Tribe do not oppose this motion.

   5) Defendant-Intervenor Dakota Access opposes this motion.

Dated: February 8, 2021                              Respectfully submitted,

                                                     JEAN E. WILLIAMS
                                                     Acting Assistant Attorney General
                                                     United States Department of Justice
                                                     Environment & Natural Resources Division

                                                     By: /s/ Matthew Marinelli
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                                                     of Engineers

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                                                     MELANIE CASNER
                                                     U.S. Army Corps of Engineers
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                                                     Office of Chief Counsel
                                                     Washington, DC


                                CERTIFICATE OF SERVICE

I, Matthew Marinelli, hereby certify that on February 8, 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, and copies will be sent electronically to
the registered participants as identified in the Notice of Electronic Filing.




       /s/ Matthew Marinelli
       MATTHEW MARINELLI




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